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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ____________________________________
  In the Matter of S.S. and A.S.,     )
                                      )
  DORAN ANTHONY SATCHEL               )
                                      )
                        Petitioner,   )                         No. 1:25-cv-01309
                                      )
  vs.                                 )
                                      )                        AMENDED ORDER
  RENE ALEXIS KIZZI SATCHEL           )
                                      )
                        Respondent.   )
  ____________________________________)


 The Convention on the Civil Aspects of International Child Abduction, done at The Hague on
   October 25, 1980; International Child Abduction Remedies Act, 22 U.S.C. 9001 et seq.

           Before the Court is the Verified Petition for the Return of the Children to Canada (the

 “Petition”) (ECF No. 1). The Court directed Respondent or her counsel to show cause before

 this Court on March 17, 2025 as to why an order should not be made and entered granting

 the Petitioner his requested relief in his Motion to Expedite (ECF No. 5) pursuant to the

 Hague Convention and the International Child Abduction Remedies Act (“ICARA”) (ECF

 No. 6).

           On March 13, 2025, service of the pleadings and this Court’s order to show cause

 was effectuated upon Respondent (ECF No. 8). On March 17, 2025, counsel for Petitioner

 appeared. There was no appearance from Respondent.
                   28th
                   xxth day of March, 2025:
        It is this 27

        ORDERED that the United States Marshals Service shall proceed to Respondent’s residence,

retrieve the passports of the subject children, S.S. and A.S., and deliver them to the Clerk of the Court

for safekeeping pending the resolution of this proceeding. Respondent’s residence is located at 420
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MacDonough Street, Brooklyn, New York 11233; and

        IT IS FURTHER ORDERED that the United States Marshals Service use all necessary and

reasonable force to retrieve the passports of the subject children, S.S. and A.S.; and

        IT IS FURTHER ORDERED that the United States Marshals Service shall serve on

Respondent, if she is present, copies of the attached Petition For Return and Order to Show Cause.




                                                ________________________________________
                                                      Hon. Brian M. Cogan
